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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

 UNITED STATES OF AMERICA,

                       Plaintiff,                                      8:22CR47

        vs.
                                                         ORDER ON APPEARANCE FOR
 JERRELL JACKSON,                                      SUPERVISED RELEASE VIOLATION

                       Defendant.


       The defendant appeared before the Court on May 23, 2025 regarding Petition for Offender
Under Supervision [414]. Yvonne Sosa represented the defendant. Kimberly Bunjer represented
the government. The defendant was advised of the alleged violation(s) of supervised release, right
to retain or appointment of counsel, and any right to a preliminary hearing in accordance with
Federal Rule of Criminal Procedure 32.1(a)(3).
       The defendant appeared by summons, or is otherwise not in custody, and will not be
detained. Therefore, the defendant does not have right to a preliminary hearing. Fed. R. Crim. P.
32.1(b)(1)(A). The Court finds the petition sets forth probable cause to believe the defendant
violated the terms of supervised release. The defendant shall appear personally for a final
dispositional hearing before U.S. District Judge Brian C. Buescher in Courtroom No. 5, Roman L.
Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 10:00 a.m. on July 10, 2025.
        The government did not move for detention. The defendant shall be released on the
current terms and conditions of supervision.

       IT IS SO ORDERED.

       Dated this 23rd day of May, 2025.

                                                     BY THE COURT:

                                                     s/ Ryan C. Carson
                                                     United States Magistrate Judge
